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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                 ) 2:07-CR-314 LKK
                                               )
12               Plaintiff,                    )
                                               )
13          v.                                 ) ORDER AFTER HEARING
                                               ) CONTINUING STATUS CONFERENCE
14   JOSE LUIS MORALES,                        )
     JUAN MORALES,                             )
15   ENRIQUE MORALES,                          )
     TERESA MARIA MORALES,                     )
16   PETRA PRECIADO MORALES,                   )
     EDER MARTINEZ MORALES, and                )
17   EDGAR MARTINEZ MORALES,                   )
                                               )
18                Defendants.                  )

19
                                         ORDER
20
            The United States, and defendants Jose Luis Morales, Juan
21
     Morales, Enrique Morales, Teresa Maria Morales, and Petra
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     Preciado Morales, along with their attorneys, appeared before the
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     Court on Tuesday, September 20, 2011, in case number 2:07-CR-314
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     LKK.   At that time, based upon the representations and agreement
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     of all counsel, the Court ordered that the status conference and
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     changes of plea set for Tuesday, September 20, 2011, at 9:15
27
     a.m., be continued to Tuesday, November 29, 2011, at 9:15 a.m.,
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 1   and that the time beginning September 20, 2011, and extending
 2   through November 29, 2011, was excluded from the calculation of
 3   time under the Speedy Trial Act.      The exclusion of time is
 4   appropriate due to defense counsel’s need to prepare.          The
 5   additional time is necessary to ensure defense counsel’s
 6   effective preparation, taking into account the exercise of due
 7   diligence.   18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4.
 8        ACCORDINGLY, it is hereby ordered that the status conference
 9   set for September 20, 2011, at 9:15 a.m., be continued to
10   November 29, 2011, at 9:15 a.m., and that the time beginning
11   September 20, 2011, and extending through November 29, 2011, be
12   excluded from the calculation of time under the Speedy Trial Act.
13   The Court finds that the interests of justice served by granting
14   this continuance outweigh the best interests of the public and
15   the defendant in a speedy trial.      18 U.S.C. § 3161(h)(7)(A).
16        IT IS SO ORDERED.
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     Dated: September 26, 2011
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                                       2                Order After Hearing
                                                    U.S. v. Morales, et al.
                                                               2:07-314 LKK
